           Case 2:18-cr-00073-GJP Document 61 Filed 09/27/21 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                             :                CRIMINAL ACTION
                 v.                          :
                                             :                No. 18-73
DAVID LANDIS
USM# 76127-066
FDC PHILADELPHIA

                                    NOTICE OF HEARING

        Take notice that the defendant is scheduled for a Sentencing hearing on
November 2, 2021 at 10:00 a.m. before the Honorable Gerald J. Pappert in Courtroom 11-A
of the United States District Court, 601 Market Street, Philadelphia, PA 19106.

☒ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☐ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter:

COUNSEL SHALL SUBMIT A SENTENCING MEMORANDUM TO THE COURT
FIVE (5) BUSINESS DAYS PRIOR TO THE HEARING.

For additional information, please contact the undersigned.

By:              Jeffrey Lucini
                 Courtroom Deputy to Judge Pappert

Date:            9/27/21

cc via U.S. Mail:       Defendant
cc via email:           Defense Counsel K. Young
                        Assistant U.S. Attorney C. Pozos
                        U.S. Marshal
                        Court Security
                        Probation Office
                        Pretrial Services
                        Interpreter Coordinator

crnotice (July 2021)
